
PearsoN, C. J.
.All of the property embraced in the legacies which lapsed by the death of the legatees, falls into the residue. This is the general rule, and there is nothing to take this case out of its application.
2. The cattle and increase fall into the residue, subject to the estate of Ruffin Ballanee, until Tawboro would have been 21 years old, if he had lived.’
3. The interest of Francis Allgood Ballanee in the beds and bedsteads, does not survive, but falls into' the residue. The effect of the act of the Legislature, abolish-■ ing survivorship among joint tenants, is to change the rule, which had, in bequests of this kind, .allowed the whole to pass to the surviving legatee.
Decree according to this opinion ; costs to be paid by the executor out of the estate.
